               Case 2:13-cv-02185-EFB Document 20 Filed 04/17/15 Page 1 of 3
     BENJAMIN B. WAGNER
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 3   Social Security Administration
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     Attorneys for Defendant
 9
10                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF CALIFORNIA
11                                     SACRAMENTO DIVISION
12                                                    ) No. 2:13-cv-02185-EFB
     JAMES L. TUCKER,
                                                      )
13                                                    )
             Plaintiff,                               ) STIPULATION FOR AWARD OF EAJA
14                                                    ) FEES
                  v.                                  )
15                                                    )
     CAROLYN W. COLVIN, Acting                        )
16   Commissioner of Social Security,                 )
                                                      )
17                                                    )
             Defendant.                               )
18                                                    )
                                                      )
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20
21           IT IS HEREBY STIPULATED by the parties, through their undersigned attorneys, and with
22   the approval of the Court as provided below, that Plaintiff be awarded attorney fees under the Equal
23   Access to Justice Act (EAJA), 28 U.S.C. § 2412(d), in the amount of two thousand two hundred
24   dollars ($2,200.00), and costs in the amount of four hundred dollars ($400) under 28 U.S.C. § 1920.
25   This amount represents compensation for all legal services rendered on behalf of Plaintiff by counsel
26   in connection with this civil action, in accordance with 28 U.S.C. §§ 1920, 2412(d).
27   /////
28   /////




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 1             After the Court issues an order for EAJA fees to Plaintiff, the government will consider the
 2   matter of Plaintiff’s assignment of EAJA fees to Plaintiff’s attorney. Pursuant to Astrue v. Ratliff,
 3   130 S. Ct. 2521 (U.S. June 14, 2010), the ability to honor the assignment will depend on whether the
 4   fees are subject to any offset allowed under the United States Department of the Treasury’s Offset
 5   Program. After the order for EAJA fees is entered, the government will determine whether they are
 6   subject to any offset.
 7             Fees and costs shall be made payable to Plaintiff, but if the Department of the Treasury
 8   determines that Plaintiff does not owe a federal debt, then the government shall cause the payment of
 9   fees and costs to be made directly to plaintiff's counsel Robert N. Campbell, pursuant to the
10   assignment executed by Plaintiff. Any payments made shall be delivered to Plaintiff’s counsel
11   Robert N. Campbell.
12             This stipulation constitutes a compromise settlement of Plaintiff’s request for EAJA attorney
13   fees and does not constitute an admission of liability on the part of Defendant under the EAJA.

14   Payment of the agreed amount shall constitute a complete release from, and bar to, any and all claims

15   that Plaintiff and/or Plaintiff’s counsel may have relating to EAJA attorney fees connection with this

16   action.

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18                                                  Respectfully submitted,
19
     Date: April 14, 2015                    Law Offices of Campbell & Clark
20
21                                            By:   /s/ Robert N. Campbell *
22                                                  ROBERT N. CAMPBELL
                                                    *By email authorization
23
                                                    Attorney for Plaintiff
24
25   /////

26   /////
27   /////
28
     /////




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             Case 2:13-cv-02185-EFB Document 20 Filed 04/17/15 Page 3 of 3
                                          BENJAMIN B. WAGNER
 1
                                          United States Attorney
 2                                        DONNA L. CALVERT
                                          Regional Chief Counsel, Region IX,
 3                                        Social Security Administration
 4
                                    By:   /s/ Paul Sachelari
 5                                        PAUL SACHELARI
                                          Special Assistant United States Attorney
 6                                        Attorneys for Defendant
 7
 8                                        ORDER
 9
           APPROVED AND SO ORDERED.
10
     DATED: April 16, 2015.
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     EAJA Stip; 2:13-cv-02185-EFB             -3-
